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                             Index No: 18-4740


                                               Jury Trial Demanded


               United States District 
                      Court 
                                   for the

         Eastern District of New York
        SGT. JAMESON WARREN,
                                                          Plaintiff
                                    –v–
        CASTELLA IMPORTS,
        CLARA CORTES, CHRIS VALSAMOS,
        NICOLE MORELLO AND ROBERT ROBERTS

                                                         Defendants



              PLAINTIFF’S VERIFIED COMPLAINT

 

 
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        Plaintiff JAMESON WARREN, by and through his attorneys the Law
        Offices of Cory H. Morris, Cory H. Morris, P.C., as and for his
        Verified Complaint states and alleges as follows:
                         A JURY TRIAL IS DEMANDED
                           PRELIMINARY STATEMENT
        1.   This is a civil action seeking monetary relief, a declaratory
             judgment, compensatory and punitive damages,
             disbursements, liquidated damages, costs, and fees for
             violations of the Plaintiffs’ rights under the Uniformed
             Services Employment and Reemployment Rights Act of 1994
             (USERRA), 38 U.S.C.A. §§ 4301–4335, and the 5th and 14th
             Amendments to the United States Constitution and New York
             State Law.
        2.   Jameson Warren is a Sergeant in the United States Army
             Reserve. He has served his country and the American people
             for eleven years as an Army Reserve Firefighter.
        3.   By reason of the wrongful termination of his employment by
             and on behalf of the defendants, individually and/or
             collectively, jointly and/or severally, Sergeant Warren has
             been compelled to bring this action to recover for violation of
             his Civil Rights as a member of the United States Armed
             Forces.
        4.   The Defendants, individually and/or collectively, jointly
             and/or severally, negligently, wantonly, recklessly,
             intentionally and knowingly sought to and did wrongfully
             deprive all debit card of his civil and Constitutional rights,
             pursuant to the above-mentioned statutes and causes of
             action by depriving the Plaintiff of rights secured by the
             Constitution, Uniformed Services Employment and
             Reemployment Rights Act of 1994, 38 U.S.C.A. §§ 4301 to
             4335, and laws of the State of New York.
        5.   Plaintiff Sergeant Warren was employed by the Defendants
             for over a year and a half, starting as an assistant warehouse
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              manager and promoted to warehouse manager within six
              months of employment.
                                   JURISDICTION
        6.    Jurisdiction is proper pursuant to 28 U.S.C. §1331 in that this
              action arises under the Constitution and laws of the United
              States, among them the Uniformed Services Employment and
              Reemployment Rights Act (USERRA).
                                       VENUE
        7.    Plaintiff Sergeant Warren is a resident of Suffolk County and
              citizen of New York
        8.    Plaintiff is a resident of Suffolk County and citizen of New
              York who worked for Defendant, Castella Imports, located at
              60 Davids Drive, Hauppauge NY 11788 for over a year and a
              half.
        9.    Venue is properly placed in this district pursuant to
              28 U.S.C. §1391(c) in that the principal place of business for
              the defendants is located in the County of Suffolk, State of
              New York.
                   ADMINISTRATIVE PROCEDURAL HISTORY
        10.   Plaintiff filed a complaint with the United States Department
              of Labor, USERRA Case No. NY–2018–00031–10–R, on or
              about May 18, 2018.
        11.   On or about May 22, 2018, Veteran's Employment and
              Training Service, US Department of Labor of the (Office of the
              Assistant Secretary for Veterans Employment and Training
              Services sent Clara Cortes, Human Resources Manager, a
              detailed request for information.
        12.   As of August 22, 2018, USERRA Case No. NY–2018–00031–
              10–R was resolved and Plaintiff was forced to commence this
              action to seek relief under USERRA.




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         MILITARY SERVICE HISTORY OF PLAINTIFF SERGEANT
                            WARREN
        13.   PFC Jameson Warren received an award for exceptional
              service integral to the successful completion of Operational
              Essayons 2009, signed by both Dale J. Alexander and Robert
              E. Dickson.
        14.   Plaintiff Sergeant Warren performed excellent service to his
              Country, supervising rescue and firefighting operations
              during structural fires, aircraft crash incidents, vehicle
              emergencies and natural cover fires; supervises emergency
              response crews during hazardous materials incidents;
              conducts fire prevention operations including inspections and
              pre-fire planning; responsible for the discipline, welfare and
              training of other enlisted soldiers and the maintenance of
              military equipment.
        15.   On June 14, 2012, in a recommendation for award, he the
              following achievements of Plaintiff Sergeant Warren were
              recognized by Commander 369th Engineer Detachment,
              Horsham PA 19044 and incorporated into this Complaint as
              Exhibit 1:




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        16.   Plaintiff Sergeant Warren was described in his NCOER (Non
              Commissioned Officer Evaluation Report) by SSG Douglas A.
              Putt as a “team player and willingly accepts responsibility to
              ensure mission accomplishment.”
        17.   Plaintiff Sergeant Warren was described by SSG Douglas A.
              Putt as one who fully supports and enforces the Army's
              SHARP (Sexual Harassment/Assault Response Prevention)
              and EO (Equal Opportunity) policies, fostering environment
              of trust and security.
        18.   Such training and policies made Plaintiff Sergeant Warren a
              valuable potential employee and manager to nearly any
              industry.
        19.   SSG Douglas A. Putt commented in Plaintiff’s NCOER that
              Plaintiff Sergeant Warren has “proved mental toughness
              through assigned duty performance [is a] true self-starter
              with the strength and conviction to get the job done [and] a
              motivated NCO who learns from his mistakes and is
              constantly improving.”
        20.   Most telling is that SSG Douglas A. Putt stated in Plaintiff’s
              NCOER that “SGT Warren should be enrolled in ALC
              [Advanced Leaders Course] now as he succeed[ed] with his
              Military education and any duty assignment he is given. He is
              always striving for improvement of his skills and the abilities
              of his Soldiers. SGT Warren should be promoted ahead of his
              peers for the benefit of his Unit and of the Army.”
        21.   On or about December 4, 2017, Plaintiff Sergeant Warren
              received PERMANENT ORDERS: IA–17–293–019 (Al),
              stating that effective date June 22, 2018, Sgt. Jameson
              Warren was due to be mobilized to Ft. Bliss, Texas as part of
              his military service, to this Country.
        22.   Plaintiff Warren received his orders from Michael Sheffeild
              Chief, Mobilization Branch - PERMANENT ORDERS: IA-17-
              293-019 (Al)




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        23.   Plaintiff Warren’s December 4, 2017 Orders stated “So much
              of PERMANENT ORDERS IA-17-293-019 Headquarters,
              First Army, Rock Island Arsenal, Illinois 61299-8400 dated
              10/20/2017…Pertaining to the mobilization of: 0319 EN TM
              ENGR FFTG TM -(WTMRAA),HORSHAM, PA,” and are
              incorporated herein as Exhibit 2:




        24.   Upon receipt of said permanent orders, Plaintiff Sergeant
              Warren did promptly notify Defendants and provided them
              with a copy of his orders.
                         PLAINTIFF SERGEANT WARREN
        25.   At the time he was called to active duty, Plaintiff Sergeant
              Warren was a full time employee of Defendants at 60 Davids
              Drive, Hauppauge NY 11788 between January 18, 2017 and
              May 18, 2018.
                                THE DEFENDANTS
        26.   At all relevant times in this complaint and upon information
              and belief:
        27.   Defendant, Castella Imports (“Castella” or “Defendant”), 60
              Davids Drive, Hauppauge NY 11788, is considered a person,
              institution, organization, or other entity that pays salary or
              wages for work performed or that has control over
              employment opportunities.




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        28.   Defendant, Castella Imports’ warehouse work force contains
              over fifty percent non-native English speakers that are
              predominantly non-union employees.
        29.   Defendant, Clara Cortes (“Cortes”) is the Human Resources
              Manager of Castella Imports and had control over Plaintiff’s
              employment opportunities.
        30.   Defendant, Chris Valsamos (“Valsamos”) is the President of
              Castella Imports and had control over Plaintiff’s employment
              opportunities. Chris Valsamos stated to Plaintiff that he had
              two military members in management and stated that
              employing service members is a positive thing for operations.
        31.   Defendant, Nicole Morello (“Morello”) is the director of
              operations of Castella Imports and had control over Plaintiff’s
              employment opportunities.
        32.   Defendant, Robert Roberts is the Manager of warehousing
              and logistics of Castella Imports and had control over
              Plaintiff’s employment opportunities.
        33.   Collectively, Castella Imports, Chris Valsamos, Nicole
              Morello, Robert Roberts, are referred to as “Defendants,” or
              “Defendant.”
        34.   All such Defendants are covered entities under 38 U.S.C.A. §
              4303(4)(A), having employment-related responsibilities over
              Plaintiff.
        35.   Defendants, individually and collectively, jointly and
              severally are considered a person, institution, organization, or
              other entity that pays salary or wages for work performed or
              that has control over employment opportunities.
        36.   For 25 years, Castella has successfully partnered with the
              world’s best growers in the Mediterranean and beyond to
              ensure its tradition of quality, freshness and variety in
              product offerings. As a testament to their commitment to
              growth and innovation, Castella has doubled their sales every
              five years since 1992. Leading the field in competitive pricing,




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              exceptional service and guaranteed quality, it's easy to see
              why Castella outshines the competition.
                                 Castella Timeline
           1992 - Roots of the family-owned company were planted.
          1999 - Company doubled its space and relocated to
        Farmingdale, New York.
           2002 - Castella opened a facility in Wood Dale, Illinois.
          2003 - Acquired Millflow Spice Corp. and Regal Extract
        Company.
           2004 - Acquired assets of Salvati Foods.
          2005 - Moved to a 3.5 million cubic foot state-of-the-art
        warehouse in Hauppauge, New York.
          2012 - On the grow once again, Castella opens a facility in
        Buena Park, California.
          2013 - Castella Midwest Division relocates to a larger facility in
        Addison, Illinois.
         THE USERRA CLAIM OF PLAINTIFF SERGEANT WARREN
        37.   The full time employment of Plaintiff SERGEANT WARREN by
              Defendant CASTELLA IMPORTS was not brief or of limited
              duration.
        38.   Plaintiff Sergeant Warren received orders from the United
              States Army during the course of his regular continuous full
              time employment by Defendant CASTELLA IMPORTS.
        39.   Any absence of Plaintiff SERGEANT WARREN from employment
              at Defendant CASTELLA IMPORTS was the result of his call to
              active military duty and military service in the United States
              Army.
        40.   The cumulative duration of this present absence of Plaintiff
              SERGEANT WARREN from employment with Defendant
              CASTELLA IMPORTS and of all his previous absences from
              employment were the result of military service as a uniformed



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              NCO in the United States Army and does not exceed five
              years.
        41.   At the time of his employment with Defendant CASTELLA
              IMPORTS, Plaintiff SERGEANT WARREN declared his intention
              to return to employment with Defendant CASTELLA IMPORTS
              after any absence resulting from military service.
        42.   Plaintiff SERGEANT WARREN provided verbal and written
              advance notice of any absence resulting from his military
              service together with whatever information was available
              from the United States Army as to the duration of his
              deployment and associated absence from employment.
        43.   Defendants, individually and/or collectively, jointly and/or
              severally, negatively impacted the employment of Plaintiff
              SERGEANT WARREN and denied Plaintiff SERGEANT WARREN
              the rights and benefits, whether paid or unpaid, not
              determined by seniority that are generally available to
              employees having similar seniority, status and pay when on
              furlough or leave of absence.
              EMPLOYMENT HISTORY OF PLAINTIFF SERGEANT
               WARREN AT DEFENDANT CASTELLA IMPORTS
        44.   Plaintiff SERGEANT WARREN interviewed for the position of
              Assistant Warehouse Manager at Defendant CASTELLA
              IMPORTS with Crystal Hoffman via phone screen on or about
              January 9, 2017.
        45.   Plaintiff SERGEANT WARREN was interviewed by Robert
              Roberts who was the Warehouse Manager at the time.
        46.   On January 13, 2017, Plaintiff SERGEANT WARREN was
              interviewed by John Casares, formerly VP of Operations.
        47.   John Casares is a retired Commissioned Officer and had been
              deployed on more than one occasion on active duty in military
              service.




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        48.   Plaintiff SERGEANT WARREN was told that Mr. Casares was
              involved with military logistics, supply, and warehousing.
        49.   Plaintiff SERGEANT WARREN shared numerous military stories
              with Mr. Casares.
        50.   As part of his employment application, Plaintiff SERGEANT
              WARREN was asked for and he did provide three business
              references which, upon information and belief, were contacted
              by and/or on behalf of Defendant CASTELLA IMPORTS.
        51.   On or about Tuesday 17 January 2017, Plaintiff SERGEANT
              WARREN received a written offer of employment as Assistant
              Warehouse Manager conditioned upon a negative drug screen
              result.
        52.   Plaintiff SERGEANT WARREN rejected the first offer letter and
              eventually, after Laura VonKampen, former director of
              Human Resources approved a one week vacation and sent a
              new offer letter sent by electronic mail.
        53.   Plaintiff SERGEANT WARREN the letter-offer of employment
              and returned it to Laura VonKampen via electronic mail.
        54.   Plaintiff SERGEANT WARREN started his employment with
              Defendant CASTELLA IMPORTS on 18 January 2017.
               “ONBOARDING” PLAINTIFF SERGEANT WARREN
        55.   The initial work schedule of Plaintiff SERGEANT WARREN at
              Defendant CASTELLA IMPORTS was Monday through Friday
              from 7:30am to 5:00pm.
        56.   Plaintiff SERGEANT WARREN was informed that he would
              receive formal feedback regarding his job performance
              including but not limited to a formal performance evaluation
              in July, 2017.
        57.   The evaluation process by Defendant CASTELLA IMPORTS was
              supposed occur for all employees twice a year, in July and
              January, with the January evaluation applied to possible
              increases and bonuses.




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        58.   During his first day of employment at Defendant CASTELLA
              IMPORTS, PLAINTIFF SERGEANT WARREN spent the day in the
              cafeteria, doing what Castella Imports calls “Onboarding”,
              which is an overview of their policies and procedures.
        59.   Plaintiff SERGEANT WARREN was informed that Castella
              Imports had three major locations:
              60 Davids Drive, Hauppauge, NY (Corporate Headquarters,
              Primary production, warehousing, and shipping);
              50 Commerce Drive, Hauppauge, NY (Leased storage facility,
              known as warehouse); and
              40 W Fullerton Ave, Addison, IL (limited production,
              warehousing and shipping to west of the Mississippi).
        60.   On that first day, Robert Roberts, walked Plaintiff SERGEANT
              WARREN around the warehouse, introduced him to some
              employees, and advised him to return to the Hauppauge
              location, the next day at 7:30am.
        61.   Training of Plaintiff SERGEANT WARREN consisted of Robert
              Roberts describing tasks that were performed by Mr. Roberts
              prior to Plaintiff’s employment.
        62.   The primary responsibilities of Plaintiff SERGEANT WARREN
              were never stated in written form, discussed in a meeting, or
              agreed upon.
        63.   Job training provided to Plaintiff SERGEANT WARREN by
              Defendant CASTELLA IMPORTS was always reactive.
        64.   With little guidance from Defendant CASTELLA IMPORTS
              management, Plaintiff SERGEANT WARREN became proactive
              and received promotions.
               INCREASED RESPONSIBILITIES FOR PLAINTIFF
                          SERGEANT WARREN
        65.   John Casares determined that the tasks of both Mr. Roberts
              and Plaintiff SERGEANT WARREN needed to be divided for
              better efficiency.



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        66.   Plaintiff SERGEANT WARREN was told by John Casares and
              Mr. Roberts that he would be the bridge between
              approximately sixty full time, non-union employees with
              various job titles and duties working two shifts at Davids
              Drive and Commerce Drive, the majority of whom were non-
              native-English speakers, and upper management.
        67.   Plaintiff SERGEANT WARREN was encouraged to and he did
              assume responsibility over scheduling, employee
              observations, initial dispute resolution, becoming an initial
              performance counselor.
        68.   Although not part of his regular working hours, Plaintiff
              SERGEANT WARREN became responsible for Saturday
              management. Both a key to the building and an alarm code
              were issued to him to facilitate this management role.
        69.   Plaintiff SERGEANT WARREN became responsible for managing
              the Hauppauge facility of Defendant CASTELLA IMPORTS on
              Saturday for over 10 hours.
        70.   Shortly after his employment with Defendant CASTELLA
              IMPORTS began Plaintiff SERGEANT WARREN was working over
              60 hours a week from Monday through Friday.
        71.   Sergeant Warren utilized his knowledge, experience,
              education and military training to eliminate waste and
              increase productivity at Defendant CASTELLA IMPORTS.
        72.   Plaintiff requested permission from upper management at
              Defendant CASTELLA IMPORTS to rearrange work schedules
              and increase productivity ending wasteful overtime and
              decreased efficiency throughout the Hauppauge facility.
        73.   Plaintiff SERGEANT WARREN became responsible for day-to-
              day decisions as the de facto manager of the floor employees
              at the Hauppauge facility of Defendant CASTELLA IMPORTS.
        74.   In spite of numerous requests, Plaintiff SERGEANT WARREN
              never received any formal feedback regarding his job
              performance at Defendant CASTELLA IMPORTS.




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         JOHN CASARES LEAVES DEFENDANT CASTELLA IMPORTS
        75.   Without any warning, Plaintiff SERGEANT WARREN was told
              that fellow servicemember John Casares would no longer be
              working at Defendant CASTELLA IMPORTS in or about June,
              2017.
        76.   Plaintiff SERGEANT WARREN was never told whether John
              Csares was fired, quit or left the Defendant CASTELLA
              IMPORTS for some other reason.
        77.   Plaintiff SERGEANT WARREN was informed that Nicole
              Morello, then an executive administrative assistant would
              become the Director of Operations, and Robert Roberts would
              be moved to Manager of Business Operations and that both
              Plaintiff SERGEANT WARREN and Robert Roberts would report
              to Nicole Morello.
        78.   With the departure of Mr. Casares, a position became
              available and Plaintiff SERGEANT WARREN asked Defendant
              CHRIS VALSAMOS why he had not been considered for the
              Business operations position. Defendant CHRIS VALSAMOS
              replied, “I consider that a downgrade to your current position,
              because you go from managing 60 employees to 5, and I have
              better plans for you.”
        79.   One week after Mr. Casares left Defendant CASTELLA
              IMPORTS, Defendant CHRIS VALSAMOS called Plaintiff into his
              office to discuss promoting him to warehouse manager with a
              $15,000 increase in salary to $80,000 from $65,000.
                PLAINTIFF SERGEANT WARREN’S PROMOTION
        80.   As assistant warehouse manager, Plaintiff was responsible for
              interviewing, hiring, and discipling new employees.
        81.   Plaintiff spoke about the terms of his promotion to ware
              house manager with Defendant NICOLE MORELLO and
              Defendant CHRIS VALSAMOS.




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        82.   During discussions of his promotion to warehouse manager,
              Plaintiff SERGEANT WARREN asked for $90,000 in salary and
              Defendant NICOLE MORELLO and Defendant CHRIS VALSAMOS
              stated that he would be re-evaluated in ninety days for an
              increase to salary based on efficiency of the Hauppauge
              warehouse operations.
        83.   Upon accepting the position, Plaintiff SERGEANT WARREN told
              both Defendant NICOLE MORELLO and Defendant CHRIS
              VALSAMOS, “There are many changes that need to be done,
              and I ask you to support me in my decisions as warehouse
              manager. Do not promote me if you don’t want someone to
              question the status quo, or make waves throughout the
              company.”
        84.   Plaintiff SERGEANT WARREN received assurances from both
              Defendant NICOLE MORELLO and Defendant CHRIS VALSAMOS
              that he would be given the freedom to make changes but that
              changes that would cost money or changes that affected other
              departments required senior management approval.
        85.   Plaintiff SERGEANT WARREN was instructed his chain of
              command would be Defendant NICOLE MORELLO, then Gina
              Brenezy, Vice President, then Defendant CHRIS VALSAMOS in
              ascending order.
        86.   Plaintiff SERGEANT WARREN was assigned increased job duties
              notably the Brentwood, Suffolk County, New York Project.
                PLAINTIFF SERGEANT WARREN DESIGNS THE
                   BRENTWOOD DISTRIBUTION FACILITY
        87.   Shortly after assuming his new position of Warehouse
              Manager, Plaintiff SERGEANT WARREN was told by Defendant
              CHRIS VALSAMOS that “an existing distribution warehouse
              would be purchased and changed to fit our needs.”
        88.   This new facility was to be located at 120A Wilshire Blvd,
              Brentwood, Suffolk County, New York and is herein referred
              to herein as the “Brentwood Facility.”




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        89.   Defendant CHRIS VALSAMOS gave Plaintiff SERGEANT WARREN
              a blank square on a piece of paper and said, “Design my
              warehouse.”
        90.   Plaintiff SERGEANT WARREN planned and designed the
              Brentwood facility from the ground up; determined the
              number of employees the new facility; the number and type of
              machines; laid out the racking; determined the layout of the
              products; and how the facility operation would commence and
              be sustained.
        91.   After completing the planning and design of the Brentwood
              facility, Plaintiff SERGEANT WARREN submitted it for approval
              to upper management with whom he had already been
              meeting once or twice a week to discuss this project.
        92.   The plan presented by Plaintiff SERGEANT WARREN for the
              Brentwood Facility was approved and he was then instructed
              to implement the plan.
        93.   In implementing his plan for the Brentwood facility, Plaintiff
              SERGEANT WARREN was tasked with contacting racking
              companies, material handling companies, and interfacing
              with the company architectural firm, all the while acting as
              operational Warehouse Manager for the existing facility of the
              Company at Hauppauge.
        94.   Defendants, including but not limited to Defendant CHRIS
              VALSAMOS, told Plaintiff SERGEANT WARREN that he would be
              rewarded for his exceptional service.
        95.   During the implementation of the plan for the Brentwood
              facility, Plaintiff SERGEANT WARREN was told by Defendant
              CHRIS VALSAMOS, “How were they going to run this facility
              without Plaintiff” due to his ongoing commitment to serve this
              country; due to his military service.




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          DEFENDANT CASTELLA IMPORTS FAILS TO CREDIT AND
            EVALUATE THE JOB PERFORMANCE OF PLAINTIFF
                        SERGEANT WARREN
        96.    As of July 30th, 2017, Plaintiff SERGEANT WARREN was still
               without a formal performance review nor any formal job
               descriptions of any position held by Plaintiff after a number of
               requests to upper management.
        97.    Finally, in or around August of 2017, Defendant NICOLE
               MORELLO told Plaintiff SERGEANT WARREN that he would
               “receive a formal mid-year review, however, that fact that you
               were chosen as Warehouse Manager speaks for itself.”
        98.    Plaintiff SERGEANT WARREN was tasked with recruiting,
               interviewing, and hiring his own assistant warehouse
               manager, Manuel Gruver.
        99.    From August, 2017 through January, 2018, Plaintiff
               SERGEANT WARREN was responsible for a decrease in overtime
               and error rates as well as increasing efficiency and safety
               dramatically. During this period, turnover rates dropped,
               retention expenses became near zero, and on-time shipping
               performance was improving.
        100.   Defendants, individually and/or collectively, jointly and/or
               severally, individually and collectively, often sought input
               from Plaintiff SERGEANT WARREN regarding facility
               performance and business operations.
        101.   When the military schedule became available in October,
               2017, Plaintiff SERGEANT WARREN promptly notified
               management (including but not limited to Nicole Morello) at
               Defendant CASTELLA IMPORTS.
        102.   Shortly before Plaintiff’s January, 2018 military drill was
               scheduled, Defendant CHRIS VALSAMOS asked Plaintiff
               SERGEANT WARREN for his opinion regarding the Business
               Operations Department.




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        103.   Plaintiff SERGEANT WARREN did provide Defendant CHRIS
               VALSAMOS with a detailed opinion of the Business Operations
               Department concluding that the Business Operations
               Department was failing, and that he “believe[s] the
               department is making my job harder, and should either be
               overhauled or eliminated.”
        104.   Just before Plaintiff SERGEANT WARREN left for a four-day
               drill as part of his military service on 18–21 January 2018, he
               came to learn that the Business Operations Department at
               Defendant CASTELLA IMPORTS would be eliminated.
          PLAINTIFF SERGEANT WARREN WAS NOT CONSIDERED
         FOR PROMOTION AND SUFFERED ADVERSE EMPLOYMENT
         ACTIONS DUE TO HIS ONGOING MILITARY SERVICE IN THE
                              UNITED STATES ARMY.
        105.   Hours before leaving for a military drill on January 17, 2018,
               Plaintiff SERGEANT WARREN was told that Defendant ROBERT
               ROBERTS was promoted to Manager of Warehousing and
               Logistics and was now his direct supervisor and his new chain
               of command was Defendant ROBERT ROBERTS, Defendant
               NICOLE MORELLO, Gina Berenzy, and finally Defendant CHRIS
               VALSAMOS.
        106.   Manager of Warehousing and Logistics was not a posted job
               position and Defendants did not canvas or interview Plaintiff
               SERGEANT WARREN for the Manager of Warehousing and
               Logistics job position.
        107.   Upon inquiry, Plaintiff SERGEANT WARREN was told by
               Defendant NICOLE MORELLO that he “didn’t meet all of the
               [job] qualifications.”
        108.   Plaintiff SERGEANT WARREN was in all ways qualified for the
               position of Manager of Warehousing and Logistics.
        109.   Plaintiff SERGEANT WARREN differed from Defendant ROBERT
               ROBERTS only in that Plaintiff was engaged in military
               service.




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        110.   Without notice, Plaintiff SERGEANT WARREN lost his day to
               day decision making authority in the warehouse of Defendant
               CASTELLA IMPORTS from the first day Defendant ROBERT
               ROBERTS was announced as his new supervisor.
        111.   Defendant ROBERT ROBERTS undermined the ability of
               Plaintiff SERGEANT WARREN to continue his outstanding
               performance from the time he left for military service.
        112.   During his January 2018 military drill, Plaintiff SERGEANT
               WARREN received group orders for Iraq in two versions: the
               first version stated mobilization will begin on 22 June 2018 at
               Fort Bliss and the second version amended this date to 18
               June 2018 at Fort Bliss.
        113.   Upon his return to work on 22 January 2018, Plaintiff
               SERGEANT WARREN handed an updated drill schedule, an ECT
               schedule and both versions of the orders Defendant CLARA
               CORTES, Manager of Human Resources with Gladys Almanza,
               Human Resources Generalist present. Defendants CHRIS
               VALSAMOS, NICOLE MORELLO, and ROBERT ROBERTS were
               allegedly in Chicago on that day yet all of said Defendants
               knew or should have known that Plaintiff SERGEANT WARREN
               would be engaged in active military service.
        114.   As a result of his absence due to military obligations and
               service in the United States Army, along with a reduction in
               his job duties and functions, Plaintiff SERGEANT WARREN was
               removed from employee interactions including dismissals and
               overtime decision making functions on or about February 8,
               2018.
        115.   As a result of his absence due to military obligations and
               service in the United States Army, Plaintiff SERGEANT
               WARREN was removed from decision making processes and
               denied the ability to advance in Defendant CASTELLA
               IMPORTS.
        116.    As a result of his absence due to military obligations and
               service in the United States Army, Plaintiff SERGEANT



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               WARREN began to receive negative comments from
               management and was being blamed for certain problems in
               the Hauppauge warehouse of Defendant CASTELLA IMPORTS
               for which he was not responsible.
        117.   These actions against Plaintiff SERGEANT WARREN were the
               result of his being required to attend drills and engage in
               active military service.
        118.   Plaintiff SGT Jameson Warren was also divested of the ability
               to dole out overtime regarding the unloading of an oil truck
               that was going to be late
        119.    Plaintiff SERGEANT WARREN did not receive a review of his
               job performance until February 19, 2018 and that was the
               only review, either formal or informal, that he received during
               his tenue at Castella Imports.
           REMOVING PLAINTIFF FROM BRENTWOOD FACILITY
                        DECISION MAKING
        120.   Prior to Plaintiff’s required military drill and notification that
               Plaintiff was an active military service member, Plaintiff was
               fully engaged in the creation, design and implementation of
               staff and supplies at the Brentwood Facility.
        121.   Although Brentwood Facility meetings were occurring
               through February, 2018 and the start day was pushed
               forward to April 1, 2018, Plaintiff was removed from the
               process.
        122.   Plaintiff was completely divested of his ability to participate
               in Brentwood Facility meetings prior to the start of March,
               2018.
        123.   Plaintiff SERGEANT WARREN was removed from decision
               making, discussions, and not invited to visit the Brentwood
               Facility.
        124.   Plaintiff SERGEANT WARREN was replaced by Defendant
               Roberts.




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        125.   Plaintiff SERGEANT WARREN improperly became the subject of
               an Employee Satisfaction Survey and the target of a
               Campaign of Harassment.
        126.   Plaintiff SERGEANT WARREN was told by a night shift
               employee that all Defendant Castella employees were called
               into the office to complete a survey regarding the performance
               of Sergeant Warren.
        127.   On March 15, 2018 Defendant Roberts sent an electronic
               mailing to Plaintiff SERGEANT WARREN directing him to
               prepare an outside companies audit.
        128.   Upon requesting clarification, Defendant Roberts responded
               to Plaintiff that “If I need to do your work, then I don’t need
               you here anymore. If you’re not going to do the work then why
               are you still here”?
        129.   Plaintiff SERGEANT WARREN complaint to Defendants, Human
               Resources, Clara Cortez, that Defendant Roberts was
               micromanaging him and setting him up for failure having
               created a situation where Plaintiff was unable to succeed.
        130.   In response, Plaintiff was sent home in the middle of the day
               with the statement, “you’re too frustrated to continue
               working.”
            THE WRITE-UPS AND TERMINATION OF PLAINTIFF
           SERGEANT WARREN JUST PRIOR TO HIS DEPLOYMENT
        131.   On May 1, 2018, Carlos Echevarria and Keith McAlister were
               involved in an accident in the warehouse.
        132.   After investigation, Plaintiff SERGEANT WARREN determined
               that responsibility for the accident was shared because Carlos
               failed to come to a complete stop at the end of the aisle and
               Keith was traveling to fast for the machine he was driving
               and the area that he was in.




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        133.   On the morning of 3 May 2018, Gladys Almanza (Human
               Resource Generalist) sent Plaintiff an electronic mailing at
               0739 to send Keith to Human Resources.
        134.   At 0900 on 3 May 2018, Plaintiff called Ms. Almanza to ask
               where Keith was, and Ms. Almanza stated that Keith went for
               a drug test, and cannot return until his results come back,
               which could take two to three business days.
        135.   Plaintiff never heard of such a policy and was informed by the
               employee, Keith, and the general workforce that this was seen
               as discrimination on the basis of race, color and/or national
               origin.
        136.   Prior to this occurrence with Keith, the Defendants’ policy
               was to send employees for post-accident drug screens
               immediately after an accident, however such employees
               always came back to work after, and such employees were
               paid for their time to go get the off-site drug test.
        137.   Plaintiff SERGEANT WARREN sent an electronic mail to
               Defendants CHRIS VALSAMOS, NICOLE MORELLO, CLARA
               CORTEZ, and ROBERT ROBERTS with the subject, “Keith
               Mcalister” and asking the questions, “why cannot we make a
               policy and stick to it for all employees, in all instances. Why
               did upper management wait two complete days, and why was
               he suspended pending the results?”
        138.   On 09 May 2018, 4 business days after he was sent, Gladys
               Almanza notified Plaintiff SERGEANT WARREN by electronic
               mail that “Keith passed his drug test.”
        139.   Plaintiff SERGEANT WARREN responded by electronic mail
               asking if Keith will “be compensated for the days he was
               made to be off without taking his PTO?” Clara’s response was,
               “No he will not.”
        140.   Subsequently, Defendants CLARA CORTEZ sent Plaintiff
               SERGEANT WARREN a document entitled, Castella Drug
               Testing Policy 2018.




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        141.   Plaintiff SERGEANT WARREN had never seen the Castella Drug
               Testing Policy 2018 before.
        142.   Plaintiff SERGEANT WARREN was never told he was to be
               bound by the Castella Drug Testing Policy 2018 prior to
               become Warehouse manager.
        143.   Plaintiff SERGEANT WARREN had never signed for receipt of
               any Castella Drug Testing Policy 2018.
        144.   Plaintiff SERGEANT WARREN never received any training as a
               manager to administer such a Castella Drug Testing Policy
               2018.
        145.   The Castella Drug Testing Policy 2018 is not included in the
               employee handbook.
        146.   Every Wednesday, Plaintiff SERGEANT WARREN was tasked
               with approving the time cards for each of the employees who
               report to him from the prior week.
        147.   If an employee misses a day, Plaintiff SERGEANT WARREN is
               tasked with sending an electronic mailing to Human
               Resources earmarking the timecards that need a day off
               added, and Human Resources is tasked with approving those
               time cards.
        148.   On Wednesday 09 May 2018, Keith Mcalister was part of my
               exception email to HR, because of his “suspension.”
        149.   Plaintiff SERGEANT WARREN did not approve his time card,
               and the person who approves it is responsible for its entries.
        150.   Plaintiff SERGEANT WARREN was “written up” because
               Defendants CLARA CORTEZ stated that on 3 May 2018
               Plaintiff edited the time card of Keith Mcalister so that he
               would be paid for his entire scheduled day till 1600 hours.
        151.   Defendant ROBERT ROBERTS and CLARA CORTEZ stated that
               editing the time card to 1600 was clear insubordination based
               on the email that stated Keith Mcalister will not be paid for
               the time he was awaiting his results to come back.




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        152.   On 11 May 2018 Plaintiff SERGEANT WARREN was “written
               up” for failure to certify all individuals in the warehouse even
               though Castella sent Plaintiff SERGEANT WARREN to
               certification school.
        153.   When Plaintiff SERGEANT WARREN started working for
               Defendant CASTELLA IMPORTS in 2017, Defendant ROBERT
               ROBERTS stated that he was a certified trainer under
               Occupational Safety and Health Administration (“OSHA”)
               and that all individuals currently working at Defendant
               CASTELLA IMPORTS had been certified.
        154.   Under OSHA rules at that time, an operator would not have
               to be re-certified till 2020 and both employees involved in the
               accident had been working at Castella before Plaintiff
               SERGEANT WARREN started.
        155.   The 11 May 2018 write up of Plaintiff SERGEANT WARREN was
               pretextual.
        156.   Following this accident, it was determined that no one had
               certified under OSHA by Defendant ROBERT ROBERTS or
               anyone else.
        157.   On 02 May 2018, Plaintiff SERGEANT WARREN was required to
               cover the warehouse for Saturday 5 May 2018, because
               Manuel Gruver would be off on vacation.
        158.   On 3 May 2018 at 0916, Plaintiff SERGEANT WARREN sent
               Defendant ROBERT ROBERTS and NICOLE MORELLO an
               electronic mailing in accordance with standing practice
               stating, “Since I am working the 5th, I will not be here the
               7th.” There was no response to this email.
        159.   On 03 May 2018 at 1302, Plaintiff SERGEANT WARREN sent
               the same email again stating, “please confirm receipt,
               thanks.” Defendant NICOLE MORELLO responded, “Why will
               you not be here Monday?” to which Plaintiff SERGEANT
               WARREN replied, “Because I need to switch my plans because
               I have to work Saturday.”




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        160.   Defendant NICOLE MORELLO responded to Plaintiff SERGEANT
               WARREN asking “Was a ‘request off’ Submitted?” and Plaintiff
               SERGEANT WARREN replied, “No because I didn’t know I was
               going to work Saturday till yesterday.”
        161.   Plaintiff SERGEANT WARREN did not receive a response to this
               electronic mailing.
        162.   Plaintiff SERGEANT WARREN sent an electronic message,
               again, to Defendant ROBERT ROBERTS and Defendant NICOLE
               MORELLO on 6 May 2018 at 1530 reminding them, “Please
               remember that I will not be here tomorrow.” The message was
               delivered, and read by both of them, however neither
               responded until 0645 the next day from Defendant NICOLE
               MORELLO stating, “your day off was never approved, you must
               be here today.”
               THE FIRST “WRITE-UP” OF PLAINTIFF SERGEANT
                                WARREN
        163.   On 9 May 2018, Defendant CLARA CORTES asked Plaintiff
               SERGEANT WARREN to explain his request for leave and
               Plaintiff provided Defendant CLARA CORTES with copies of
               the electronic mail exchanges.
        164.   On 11 May 2018, Plaintiff SERGEANT WARREN received a
               “write-up” stating that he did not have approval to take a day
               off and Plaintiff was in violation of company policy due to the
               request being made by electronic mail and not on an absence
               request form.
        165.   Prior to his military deployment and drill training, Plaintiff
               SERGEANT WARREN routinely dealt with time off issues by
               electronic mail without a problem.
        166.   On 8 May 2018, Defendant ROBERT ROBERTS sent Plaintiff
               SERGEANT WARREN an email with a number of “immediate
               directives” for actions in the warehouse.
        167.   Plaintiff SERGEANT WARREN responded, that the repeated cuts
               in personnel are making it very difficult to accomplish those



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               “immediate directives.” And that certain support was required
               from senior management. The President of Defendant
               Castella Imports was copied on the response.
        168.   Defendant CHRIS VALSAMOS responded “100% agree with your
               email. It’s your warehouse. Make it happen, Take your
               proactive steps.”
        169.   Plaintiff SERGEANT WARREN responded, “Thank you sir,
               however my proactive steps require senior management
               action,” followed with a detailed statement of what needed to
               be done. Defendant CHRIS VALSAMOS responded, “That’s only
               if you don’t have the authority. I believe you do. Nicole, am I
               wrong?” There was no response.
        170.   On 10 May 2018, Plaintiff SERGEANT WARREN responded by
               electronic mail to Defendant CHRIS VALSAMOS and Defendant
               NICOLE MORELLO “Has this been clarified? Do I have
               authority to begin this process of recruiting, job description,
               and implementing?” Again, there was no response.
        171.   On 14 May 2018, Defendant ROBERT ROBERTS sent out an
               electronic mail with a directive as to where several employees
               should be tasked, and who to change from their current
               duties.
        172.   On 16 May 2018, Plaintiff SERGEANT WARREN responded to
               the same electronic mailing to let everyone know that
               Defendant ROBERT ROBERTS’ direction will be difficult to
               follow due to planned and approved vacations to which
               Defendant CHRIS VALSAMOS responded, “Why aren’t you or
               Manny jumping on a machine or {day} pickers staying later?”
        173.   On 16 16, 2018, Plaintiff SERGEANT WARREN responded to
               Defendant CHRIS VALSAMOS, “How is it fair to me, Manny, or
               any members of management if the termination of personnel
               and elimination of positions means that management has to
               complete the tasks? They terminated a position last Friday,
               without any knowledge to me or Manny. Also we are




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               repeatedly told no overtime.” No response was forthcoming
               from Defendant CHRIS VALSAMOS.
        174.   The only response to Plaintiff SERGEANT WARREN’S electronic
               mailing came from Defendant NICOLE MORELLO who stated
               that I am being disrespectful, and that I must stop emailing
               Chris [Defendant CHRIS VALSAMOS].
           PLAINTIFF SERGEANT WARREN WAS SUBJECTED TO
           UNNECESSARY, UNWARRANTED, AND INAPPROPRIATE
                        ELECTRONIC SURVEILLANCE

        175.   On 17 May 2018 Plaintiff SERGEANT WARREN sent an
               electronic mailing advising management that he was
               exercising his rights under USERRA to challenge and prevent
               harassment and discrimination because of impending
               deployment on active duty military service.
        176.   On 18 May 2018, Plaintiff SERGEANT WARREN was told by
               Defendant ROBERT ROBERTS with Defendant CLARA CORTES
               present, “Because things are not working out, we are cutting
               ties with you”.
        177.   The termination of Plaintiff SERGEANT WARREN Plaintiff’s
               termination was in response to his statement that he was
               exercising his rights under USERRA.
               PRETEXTUAL TREATMENT OF SERGEANT WARREN
        178.   Plaintiff SERGEANT WARREN received two “write ups” on
               11 May 2018 and two “write ups” on 18 May 2018.
        179.   No write ups were for repeated offenses and Plaintiff
               SERGEANT WARREN had not received any write ups prior to
               May 11, 2018.
        180.   There was no place for any employee comments on the “write
               ups” nor was Plaintiff SERGEANT WARREN provided any
               opportunity to challenge or rebut the information contained in
               those “write ups.”




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        181.   The termination of Plaintiff SERGEANT WARREN from
               employment at Defendant CASTELLA IMPORTS would not have
               occurred had Plaintiff not given Defendants notice of his
               upcoming deployment on active duty military service.
        182.   The termination of Plaintiff SERGEANT WARREN from
               employment at Defendant CASTELLA IMPORTS would not have
               occurred had Plaintiff been on active duty military service.
           DEFENDANT CASTELLA IMPORTS EMPLOYEE POLICY
                            MANUAL
        183.   The Employee Policy Manual provided by Defendant
               CASTELLA IMPORTS explicitly states that “Castella is
               committed to the principles of equal employment opportunity
               and compliance with all federal, state and local laws
               concerning discrimination in employment. To this end, our
               Company ensures equal opportunity to all team members and
               applicants regardless of race, creed, citizenship, religion,
               color, sex, sexual orientation, national origin, age, disability,
               genetic information, marital status, victim of domestic
               violence status, veteran status, prior conviction record, or any
               other classification protected by federal, state, or local laws
               and ordinances. The policy of equal opportunity will be
               observed with respect to all employment practices including,
               but not limited to, recruitment, hiring, job assignment,
               transfer, re-employment, compensation, benefits, promotions,
               terminations and Company related programs.”
        184.   The Employee Policy Manual provided by Defendant
               CASTELLA IMPORTS explicitly states that “We believe equal
               opportunity is not only consistent with good business
               practices, but, more importantly, is a moral concern and
               obligation for each of us. Accordingly, if you believe that you
               have been treated in an unlawful, discriminatory manner, we
               encourage you to promptly report the incident to your
               supervisor, who will investigate the matter and take
               appropriate action, including reporting it to the Human




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               Resources Manager. If you believe it would be inappropriate
               to discuss the matter with your supervisor (or you believe that
               your supervisor has not adequately addressed your
               complaint), you may bypass your supervisor and report it
               directly to the Human Resources Manager, who will
               undertake an investigation. Your complaint will be kept
               confidential to the maximum extent possible.”
        185.   The Employee Policy Manual provided by Defendant
               CASTELLA IMPORTS explicitly states that “If the Company
               determines that a team member or supervisor has violated
               this policy, appropriate disciplinary action will be taken
               against the offending team member or supervisor, up to and
               including termination of employment.”
        186.   The Employee Policy Manual provided by Defendant
               CASTELLA IMPORTS explicitly states that “The Company does
               not tolerate discrimination against or harassment of our job
               applicants, contractors or team members by another team
               member, supervisor, vendor, customer, or any third party.
               Any form of harassment on the basis of race, creed,
               citizenship, religion, color, sex, sexual orientation, national
               origin, age, disability, genetic information, marital status,
               victim of domestic violence status, veteran status, prior
               conviction record, or any other classification protected by
               federal, state, or local laws and ordinances is a violation of
               this policy and will be treated as a disciplinary matter. The
               Company has zero tolerance for discrimination or harassment
               and is committed to a workplace free of such misconduct.”
                                    RETALIATION
        187.   The Employee Policy Manual provided by Defendant
               CASTELLA IMPORTS explicitly states that “The Company
               prohibits any form of retaliation against any team member or
               supervisor for filing a bona fide complaint under this policy or
               for assisting in a complaint investigation. If a team member
               believes someone has violated this no-retaliation policy, the




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               team member should bring the matter to the immediate
               attention of the Human Resources Manager.”
        188.   The Employee Policy Manual provided by Defendant
               CASTELLA IMPORTS explicitly states that “The Company will
               promptly, thoroughly and impartially investigate all bona fide
               complaints. Team members are encouraged to respond to
               questions and participate in investigations. Complaints and
               information obtained during investigations will be kept
               confidential to the extent possible consistent with the
               necessity to investigate the complaint and take the
               appropriate corrective action.”
        189.   The Employee Policy Manual provided by Defendant
               CASTELLA IMPORTS explicitly states that “Retaliation against a
               team member who reports an alleged violation of this policy
               or who provides information in any related investigation or
               proceeding is strictly prohibited, will not be tolerated and
               shall constitute a violation of this policy. Alleged victims of
               harassment and individuals who in good faith report
               harassment or participate in investigations will be protected
               from retaliation. Retaliatory conduct should immediately be
               reported to Human Resources so that the Company can take
               prompt and appropriate action.”
                                      BENEFITS
        190.   The Employee Policy Manual provided by Defendant
               CASTELLA IMPORTS explicitly states that “The benefits offered
               to Castella team members extend beyond the paycheck. We
               provide a superior benefits program to give you and your
               family protection and peace of mind…we provide a number of
               opportunities for paid time off for your rest and relaxation.
               The Company and its plan administrators retain the
               maximum discretion permitted by law to modify, discontinue,
               change, enhance or implement all benefit plans….If you have
               any questions about them, be sure to ask your supervisor or
               Human Resources Manager for details.”




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        191.   The benefits offered to Castella team members included
               Military Pay.
        192.   The policy of Defendant CASTELLA IMPORTS regarding Family
               and Medical Leave states that “A ‘covered service member’
               means (A) members of the Armed Forces (including the
               Reserves and National Guard) who are undergoing medical
               treatment, recuperation, or therapy is otherwise on
               outpatient status, or is otherwise on the temporary disability
               retired list, for a serious injury or illness or (B) veterans who
               were members of the Armed Forces (including Reserves and
               National Guard) and discharged or released from military
               service under condition other than dishonorable at any time
               during the s year period prior to the first date the eligible
               team member takes FMLA leave to care for the covered
               veteran, and who is undergoing medical treatment,
               recuperation or therapy for serious injury or illness.”
                          MILITARY LEAVES OF ABSENCE
        193.    The Employee Policy Manual provided by Defendant
               CASTELLA IMPORTS explicitly states that “For service
               performed in the U.S. Armed Forces, the Military Reserves or
               the National Guard, the Company will grant eligible team
               members military leave and/or military spouse leave in
               accordance with applicable federal and state law. All
               corresponding rights with regard to reinstatement, length of
               service, benefits, time accruals and compensation will be
               retained in accordance with applicable law.”
        194.   The Employee Policy Manual provided by Defendant
               CASTELLA IMPORTS explicitly states s that “Immediately upon
               receiving notice that they or their spouse have been called
               upon to serve, team members should notify their supervisor.
               Advance notice of military service is required, unless military
               necessity prevents such notice or it is otherwise impossible or
               unreasonable. Team members serving in the military will
               receive up to ten (10) days of paid leave for military service.




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               After the ten (10) day allotment has been used, team
               members may use any available accrued leave time for their
               absence”
        195.   The Employee Policy Manual provided by Defendant
               CASTELLA IMPORTS explicitly states that “Continuation of
               health insurance benefits is available as required by the
               Uniformed Services Employment and Re-employment Rights
               Act (USERRA) based on the length of the leave and subject to
               the terms, conditions and limitations of the applicable plans
               for which the team member is otherwise eligible.”
        196.   The Employee Policy Manual provided by Defendant
               CASTELLA IMPORTS explicitly states that “When the team
               member is discharged from military service, the Company will
               re-employ him / her in his/ her former position or an
               equivalent position with full seniority and other rights and
               benefits as required by law. To qualify for re-employment, the
               team member must: (a) have a certificate of completion of
               military service; (b) still be qualified to perform the duties of
               the position; and (c) apply for re-employment with the
               Company within ninety (90) days after being released from
               military service. A spouse of a member of the U.S. Armed
               Forces, National Guard or Reserves, who has been deployed
               during a period of military conflict, is entitled to ten (10) days
               unpaid leave when that team member's spouse is on leave
               from military duty.”
                     ELECTRONIC COMMUNICATION POLICY
        197.   The Employee Policy Manual provided by Defendant
               CASTELLA IMPORTS explicitly states that “It is the Company's
               belief that staying up-to-date with technology is critical to our
               success. Therefore, the Company has invested a great deal of
               money on computers and electronic communications
               equipment, including e-mail, voice mail and access to the
               Internet (referred to as “Systems”). The data and information
               created with, transmitted by and stored on these Systems is




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               Company property and must have a legitimate business
               purpose. However, Systems can be used for limited personal
               reasons so long as such use does not interfere with a team
               member's job performance or violate the Company's other
               policies. The use of these Systems by team members implies
               an understanding of, and agreement to, this policy.”
        198.   The Employee Policy Manual provided by Defendant
               CASTELLA IMPORTS explicitly states that “To prevent against
               misuse, the Company will, without notice to its users, access
               and monitor its Systems and obtain the data and
               communications within the Systems. The Company
               monitoring of its Systems will include, but not be limited to,
               accessing, recording, disclosing, inspecting, reviewing,
               retrieving and printing communications, logins and other
               uses of the Systems, as well as keystroke capturing and/or
               other network sniffing technologies. The reasons for which the
               Company will obtain such access include, but are not limited
               to: maintaining the Systems; preventing or investigating
               allegations of abuse or misuse of the Systems; ensuring
               compliance with software copyright laws; monitoring and
               ensuring work flow and productivity; complying with legal
               and regulatory requests for information; and, ensuring that
               the Company operations continue appropriately during a
               team member's absence or unavailability. Accordingly, team
               members must provide administration with any access codes
               or passwords applicable to these Systems. Likewise, because
               the Company will be monitoring these Systems, team
               members should have no expectation of privacy as it relates to
               any data or communications created with, transmitted by or
               stored on the Company's Systems.”
        199.   The Employee Policy Manual provided by Defendant
               CASTELLA IMPORTS explicitly states that “The Company's
               policy prohibiting harassment applies, in its entirety, to the
               use of the Company's Systems. No one may use the
               Company's Systems in a manner that may be construed by




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               others as harassing or offensive based on race, national
               origin, sex, sexual orientation, age, disability, religious beliefs
               or any other characteristic protected by federal, state or local
               law.”
        200.   The Electronic Communication Policy of Defendant CASTELLA
               IMPORTS further states that “No one may access, or attempt to
               obtain access to, another's electronic communications without
               appropriate authorization. In addition, team members must
               log off of the Company's Systems when they leave their work
               station. Team members who violate this policy may be subject
               to discipline, up to and including termination.”
         DEFENDANTS WERE AWARE OF PLAINTIFF’S RIGHTS AS A
               MEMBER OF THE UNITED STATES ARMY

        201.   Defendants, individually and/or collectively, jointly and/or
               severally, knew or should have known that Plaintiff
               SERGEANT WARREN had rights and benefits, whether paid or
               unpaid, not determined by seniority that are generally
               available to employees having similar seniority, status and
               pay when on furlough or leave of absence due to active
               military service.
        202.   Defendants, individually and/or collectively, jointly and/or
               severally, knew or should have known that Plaintiff
               SERGEANT WARREN had rights and benefits, to use, upon
               request, vacation, annual or similar leave with pay that
               Plaintiff accrued prior to military service.
        203.   Defendants, individually and/or collectively, jointly and/or
               severally, knew or should have known that Plaintiff
               SERGEANT WARREN needed to temporarily leave his
               employment at Defendant CASTELLA IMPORTS in order to
               perform service to the People of the United States as a
               uniformed member of the United States Army when ordered
               to deploy.
        204.   Defendants, individually and/or collectively, jointly and/or
               severally, knew or should have known that Plaintiff



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               SERGEANT WARREN provided said Defendants with advance
               notice of deployment on active duty military service.
        205.   Defendants, individually and/or collectively, jointly and/or
               severally, knew or should have known that the cumulative
               length of the Plaintiff’s non-exempt periods of military service
               during the employee’s employment relationship with the
               employer does not exceed five years.
        206.   Defendants, individually and/or collectively, jointly and/or
               severally, knew or should have known that after completing
               his active duty deployment, Plaintiff SERGEANT WARREN
               would timely return to Defendant CASTELLA IMPORTS.
        207.   Defendants, individually and/or collectively, jointly and/or
               severally, knew or should have known that Plaintiff
               SERGEANT WARREN had rights and benefits, to use, upon
               request, vacation, annual or similar leave with pay that
               Plaintiff accrued prior to military service.
                                       DAMAGES
        208.   As a result of his wrongful termination of employment by
               Defendant CASTELLA IMPORTS, Plaintiff SERGEANT WARREN
               has been injured and incurred special economic damage in the
               actual amount of $6,153 representing 4 weeks of gross pay;
               $1,538 representing one week of vacation pay; a 401(k) loan in
               the amount of $4,500, together with $800 in order to obtain
               the 401(k) loan; and unreimbursed expenses associated with
               his deployment in the amount of $1,500.
          THE FIRST CAUSE OF ACTION: DISCRIMINATION UNDER
                              USERRA
        209.   Plaintiff SERGEANT WARREN was treated differently in his
               employment because of his military background in violation of
               The Uniformed Services Employment and Reemployment
               Rights Act of 1994, 38 U.S.C. § 4301 et seq.




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        210.   Defendants, individually and collectively, knew that
               SERGEANT WARREN had a military background was still
               indebted to the United States of America insofar as he could
               be called for military duty at any time.
        211.   Defendants, individually and collectively, knew that
               SERGEANT WARREN had written a “blank check” to the United
               States of America to serve and defend his country.
        212.   PLAINTIFF SERGEANT WARREN’S military status was the
               motivating factor, that is a substantial reason for Defendants’
               decisions to write up PLAINTIFF SERGEANT WARREN.
        213.   PLAINTIFF SERGEANT WARREN having to leave Defendants’
               employ for military service was the motivating factor, that is
               a substantial reason for Defendants’ decisions to write up
               PLAINTIFF SERGEANT WARREN.
        214.   PLAINTIFF SERGEANT WARREN’S military status was the
               motivating factor, that is a substantial reason for Defendants’
               decisions to terminate PLAINTIFF SERGEANT WARREN.
        215.   PLAINTIFF SERGEANT WARREN having to leave Defendants’
               employ for military service was the motivating factor, that is
               a substantial reason for Defendants’ decisions to terminate
               PLAINTIFF SERGEANT WARREN.
        216.   As a result of the discrimination by Defendants, individually
               and/or collectively, jointly and/or severally, Plaintiff
               SERGEANT WARREN has been injured and suffered economic
               loss and damage.
           THE SECOND CAUSE OF ACTION: RETALIATION UNDER
                             USERRA
        217.   Plaintiff SERGEANT WARREN was treated differently in the
               terms and conditions of his employment on the grounds of his
               military background in violation of The Uniformed Services
               Employment and Reemployment Rights Act of 1994, 38 U.S.C.
               § 4301 et seq.




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        218.   Plaintiff SERGEANT WARREN filed a complaint under USERRA
               against Defendants.
        219.   Defendants, individually and/or collectively, were prohibited
               from retaliating against employees or job applicants for
               opposing practices prohibited by the statute or for filing a
               complaint, testifying, assisting or participating in a
               discrimination proceeding.
        220.   Plaintiff suffered adverse employment action(s) because he
               made complaints under USERRA.
        221.   Plaintiff was terminated because he made a complaint under
               USERRA.
        222.   Plaintiff’s complaint under USERRA was the motivating
               factor for Defendants’ write-ups.
        223.   Plaintiff’s complaint under USERRA was the motivating
               factor for Defendants’ decision to terminate Plaintiff from his
               employment.
        224.   As a result of the retaliation by Defendants, individually
               and/or collectively, jointly and/or severally, Plaintiff
               SERGEANT WARREN has been injured and suffered economic
               loss and damage.
           THE THIRD CAUSE OF ACTION: BREACH OF CONTRACT
        225.   Plaintiff’s terms and conditions of employment were
               controlled by the contract, both in fact and implied, created by
               the Employee Policy Manual provided by Defendant CASTELLA
               IMPORTS.
        226.   The terms and conditions of the Employee Policy Manual
               provided by Defendant CASTELLA IMPORTS governed the
               employment of Plaintiff SERGEANT WARREN and served as
               good and valuable consideration for continuing his
               employment.




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         227.   Plaintiff SERGEANT WARREN performed valuable services for
                Defendant CASTELLA IMPORTS in reliance upon the Employee
                Policy Manual provided by Defendant CASTELLA IMPORTS.
         228.   Defendants, individually and/or collectively, jointly and/or
                severally, failed to comply with and did violate the terms and
                conditions concerning employment set forth in the Employee
                Policy Manual provided by Defendant CASTELLA IMPORTS.
         229.   Defendants, individually and/or collectively, jointly and/or
                severally, failed to act in good faith with respect to the
                employment of Plaintiff SERGEANT WARREN.
         230.   Plaintiff had a employment contract as detailed in the
                employee handbook with Defendants.
         231.   Defendants made representations to which Plaintiff relied
                stating that Defendants would not, among other things,
                discriminate on the basis of Plaintiff’s military status.
         232.   Defendants contracted, insofar as Plaintiff was required to
                observe and Defendants required to provide, for the terms and
                conditions as described above that governed Plaintiff’s
                employ.
         233.   Plaintiff gave valuable consideration, his time, work and
                livelihood, to Defendants and Defendants provided valuable
                consideration in the terms and conditions of employment as
                governed by the contractual relationship with the parties.
         234.   Both parties knew about the governing terms and conditions
                of employment, Defendants providing Plaintiff a handbook
                that guided the terms and conditions of employment.
         235.   Defendants intentionally breached the contract provided to
                Plaintiff by said employee handbook and the terms and
                conditions of employment.
         236.   Defendants made written representations to Plaintiff which
                Defendants violated insofar as Plaintiff’s military status and
                his ability to be an active duty military servicemember were
                concerned.



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         237.   Defendants induced Plaintiff to enter employment and
                contract by making express obligations and representations
                regarding the treatment of active military servicememebers.
         238.   Defendants induced Plaintiff to enter contract by the express
                representations about treatment, conditions and employment
                of active military service members.
         239.   Defendants did in fact breach those representations by
                treating Plaintiff differently than other active
                servicemembers at Defendants place of employment.
         240.   Defendants did in fact breach those representations by
                creating pretextual write ups against Plaintiff because he was
                a servicemember at Defendants place of employment.
         241.   Defendants’ write-ups and actions were motivated in whole or
                in part to remove Plaintiff from his position of employment.
         242.   Defendants did in fact breach those representations by
                making comments against Plaintiff because of he was a
                servicemember at Defendants place of employment.
         243.   Such comments included but were not limited to comments
                about Plaintiff’s ability to manage a warehouse while serving
                overseas.
         244.   Defendants’ write-ups and actions were motivated in whole or
                in part to remove Plaintiff from his position of employment.
         245.   Defendants did in fact breach those representations by
                terminating Plaintiff because he was a servicemember at
                Defendants place of employment.
         246.   Defendants’ termination of Plaintiff was motivated in whole
                or in part to remove Plaintiff from his position of employment
                because he would be entitled to receive certain benefits under
                Defendants’ contract as an active duty servicemember.
         247.   Defendants did in fact breach those representations by
                retaliating against Plaintiff because of he made a complaint




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                under USERRA as a servicemember at Defendants place of
                employment.
         248.   Defendants’ write-ups and/or termination in response to
                Plaintiff’s complaint was motivated in whole or in part to
                remove Plaintiff from his position of employment on the basis
                of Plaintiff making a complaint.
         249.   Defendants adverse employment actions, actions taken in
                response to Plaintiff making a complaint, actions taken in
                response to Plaintiff stating he was making a complaint, were
                all in violation of Defendants’ express representations and
                policy as further detailed above.
         250.   Defendants would not have breached the contract if it had not
                been for Plaintiff’s making a complaint and exercising his
                rights both under the Defendants’ contract, the New York
                State Executive Law and/or USERRA.
         251.   As a result of Defendant’s breaching the express
                representations made to Plaintiff that would govern the terms
                and conditions of Plaintiff’s employment, Plaintiff sustained
                damages as a result of Defendants’ breach.
         252.   As a result of the breach of contract by Defendants,
                individually and/or collectively, jointly and/or severally,
                Plaintiff SERGEANT WARREN has been injured and suffered
                economic loss and damage.
         THE FOURTH CAUSE OF ACTION: DEFAMATION, SLANDER,
                                       AND LIBEL

         253.   Defendants, individually and/or collectively, jointly and/or
                severally, made material misrepresentations of fact
                concerning Plaintiff.
         254.   Defendants, individually and/or collectively, jointly and/or
                severally, made material misrepresentations of fact
                concerning Plaintiff which were published and communicated
                to others.




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         255.   The misrepresentations of fact made by Defendants
                individually and/or collectively, jointly and/or severally,
                concerned his integrity, ability to manage others and perform
                job functions central to his employment at Castella and his
                service to this Country as a member of the United States
                Army.
         256.   Plaintiff was subject to Defamation when Defendants made of
                a false statement which exposed the Plaintiff to public
                contempt, or ridicule or disgrace, or induce an evil opinion of
                him in the minds of right-thinking persons.
         257.   Defendants’ representations regarding Plaintiff, including but
                not limited to the write-ups made against Plaintiff, were
                intended to deprive Plaintiff of friendly intercourse in society.
         258.   On or about May 18, 2018, Defendants, jointly and severally,
                defamed Plaintiff.
         259.   Specifically, Defendants, ROBERT ROBERTS and CLARA CORTES
                did defame Plaintiff SERGEANT WARREN in so far as both
                parties created a write-up implying that Plaintiff was unfit
                for employment and unfit to manage other persons in a
                civilian capacity.
         260.   On or about May 18, 2018 Defendants, ROBERT ROBERTS and
                CLARA CORTES did falsely create a report constituting a major
                offense or final warning concerning Plaintiff SERGEANT
                WARREN, the substance of which is incorporated herein as
                Exhibit 3:




         261.   This write-up was false, written and distributed to others.
         262.   This write-up was published to others by Defendants ROBERT
                ROBERTS and CLARA CORTES and later distributed to others.



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         263.   This write-up was false and led to the requirement that
                Plaintiff immediately notify the United States of America, the
                military, of his employment termination.
         264.   This write-up caused Plaintiff economic injury, shame and
                held him in disregard by others.
         265.   On or about May 18, 2018 Defendants, ROBERT ROBERTS and
                CLARA CORTES did falsely create a report constituting a major
                offense or final warning concerning Plaintiff SERGEANT
                WARREN, the substance of which is incorporated herein as
                Exhibit 4:




         266.   This write-up was false, written and distributed to others.
         267.   Plaintiff immediately contacted Defendants to dispute the
                statements contained in such false report.
         268.   Plaintiff never received a drug test policy prior to this write-
                up and never was informed that he was bound by such drug
                test policy.
         269.   This write-up was published to others by Defendants ROBERT
                ROBERTS and CLARA CORTES and later distributed to others.
         270.   This write-up was false and led to the requirement that
                Plaintiff immediately notify the United States of America, the
                military, of his employment termination.
         271.   This write-up caused Plaintiff economic injury, shame and
                held him in disregard by others.




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         272.   On or about May 10, 2018 Defendants, ROBERT ROBERTS,
                NICOLE MORELLO and CLARA CORTES did falsely create a
                report constituting a minor offense concerning Plaintiff
                SERGEANT WARREN, the substance of which is incorporated
                herein as Exhibit 5:




         273.   This write-up was false, written and distributed to others.
         274.   Plaintiff immediately contacted Defendants to dispute the
                statements contained in such false report.
         275.   Plaintiff disputed this false account utilized to terminate
                Plaintiff as more fully discussed above.
         276.   This write-up was published to others by Defendants ROBERT
                ROBERTS, NICOLE MORELLO and CLARA CORTES and later
                distributed to others.
         277.   This write-up was false and led to the requirement that
                Plaintiff immediately notify the United States of America, the
                military, of his employment termination.
         278.   This write-up caused Plaintiff economic injury, shame and
                held him in disregard by others.
         279.   On or about May 10, 2018 Defendants, ROBERT ROBERTS, and
                CLARA CORTES did falsely create a report constituting a major
                offense concerning Plaintiff SERGEANT WARREN, the substance
                of which is incorporated herein as Exhibit 6:




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         280.   This write-up was false, written and distributed to others.
         281.   Plaintiff immediately contacted Defendants to dispute the
                statements contained in such false report.
         282.   Plaintiff disputed this false account utilized to terminate
                Plaintiff as more fully discussed above.
         283.   This write-up was published to others by Defendants ROBERT
                ROBERTS and CLARA CORTES and later distributed to others.
         284.   This write-up was false and led to the requirement that
                Plaintiff immediately notify the United States of America, the
                military, of his employment termination.
         285.   This write-up caused Plaintiff economic injury, shame and
                held him in disregard by others.
         286.   As a result of the defamation, libel and slander by
                Defendants, individually and/or collectively, jointly and/or
                severally, Plaintiff SERGEANT WARREN has been injured and
                suffered economic loss and damage.
                THE FIFTH CAUSE OF ACTION: NEW YORK STATE
                      EXECUTIVE LAW DISCRIMINATION
         287.   Defendants, individually and/or collectively, jointly and/or
                severally, made material misrepresentations of fact
                concerning Plaintiff.
         288.   Defendants, individually and/or collectively, jointly and/or
                severally, made material misrepresentations of fact
                concerning Plaintiff which were published and communicated
                to others.
         289.   The misrepresentations of fact made by Defendants
                individually and/or collectively, jointly and/or severally,
                concerned his integrity, ability to manage others and perform
                job functions central to his employment at Castella and his
                service to this Country as a member of the United States
                Army.




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         290.   New York State Executive Law § 296(1)(a) makes it an
                unlawful discriminatory practice for an employer to refuse to
                hire, to discharge, or to discriminate in compensation or in
                terms, conditions or privileges of employment because of the
                age, race, creed, color, national origin, sexual orientation,
                military status, sex, disability, predisposing genetic
                characteristics, familial status, marital status, or domestic-
                violence-victim status of any individual.
         291.   Here Defendants, gave Plaintiff write-ups and terminated
                Plaintiff on the basis of his active military service.
         292.   Defendants, gave Plaintiff write-ups and terminated Plaintiff
                on the basis of his military service.
         293.   As a result of the discrimination by Defendants, individually
                and/or collectively, jointly and/or severally, Plaintiff
                SERGEANT WARREN has been injured and suffered economic
                loss and damage.
         THE SIXTH CAUSE OF ACTION: RETALIATION UNDER NEW
                    YORK STATE EXECUTIVE LAW
         294.   Plaintiff SERGEANT WARREN was treated differently in the
                terms and conditions of his employment on the grounds of his
                military background in violation of The New York State
                Executive Law Section 296 et seq.
         295.   Plaintiff SERGEANT WARREN filed a complaint under USERRA
                against Defendants.
         296.   Prior to termination, Plaintiff SERGEANT WARREN gave notice
                of his intention to file a complaint under USERRA against
                Defendants.
         297.   Defendants, individually and/or collectively, were prohibited
                from retaliating against employees or job applicants for
                opposing practices prohibited by the statute or for filing a
                complaint, testifying, assisting or participating in a
                discrimination proceeding under New York Executive Law §
                296(1).



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         298.   Plaintiff suffered adverse employment action(s) because he
                made a complaint(s) under USERRA and/or gave notice of his
                intention to file a complaint.
         299.   Plaintiff was terminated because he told Defendants he was
                filing a complaint regarding discrimination.
         300.   Plaintiff’s complaint was the motivating factor for
                Defendants’ write-ups.
         301.   Plaintiff’s complaint of discrimination was the motivating
                factor for Defendants’ decision to terminate Plaintiff from his
                employment.
         302.   As a result of the retaliation by Defendants, individually
                and/or collectively, jointly and/or severally, Plaintiff
                SERGEANT WARREN has been injured and suffered economic
                loss and damage.


                                 PRAYER FOR RELIEF
         WHEREFORE, Plaintiff SERGEANT JAMESON WARREN demands
         judgment from this Honorable Court:
         DECLARING that Defendants willfully violated the rights of the
         Plaintiff SERGEANT WARREN secured to him as a member of the
         United States Army under the Uniformed Services Employment
         and Reemployment Rights Act of 1994, (USERRA)
         38 U.S.C.A. §§ 4301 to 4335;
         RESTRAINING the Defendants from continuing to violate the laws
         protecting the employment of members of the Armed Forces of the
         United States while they are on active duty;
         AWARDING Plaintiff SERGEANT WARREN general, compensatory,
         and exemplary damages on the above causes of action;
         IMPOSING Punitive damages upon the Defendants;
         AWARDING attorneys’ fees and costs of this action to the Plaintiff;




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         All together with such other and further relief as this Honorable
         Court may deem just and proper under the circumstances.
             Dix Hills, New York
             August 17, 2018
                                               Respectfully submitted,

                                               s/ Cory H. Morris /s

                                              CORY H. MORRIS (CM 5225)
                                         THE LAW OFFICES OF CORY H. MORRIS
                                               Attorney for the Plaintiffs
                                                Office & P.O. Address
                                            33 Walt Whitman Rd, suite 310
                                              Dix Hills, New York 11749
                                                Phone: (631) 450–2515
                                                 FAX: (631) 223–7377
                                         email Cory.H.Morris@protonmail.com
                                    VICTOR JOHN YANNACONE, JR. (VY6405) of counsel
                                               Phone: (631) 4705–0231
                                            email barrister@yannalaw.com




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